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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JAMES C. KANG, an individual, on
behalf of himself and all others
similarly situated,

Plaintiff,
Vv.

WELLS FARGO BANK, N.A.; and
DOES 1 through 10, inclusive,

Defendant.

 

 

 

Case No.

CLASS ACTION COMPLAINT
FOR:

FAILURE TO PAY
MINIMUM WAGES;
FAILURE TO PAY
OVERTIME WAGES;
FAILURE TO PAY
VACATION TIME;
FAILURE TO PAY ALL
WAGES OWED EVERY
PAY PERIOD;

5. FAILURE TO PAY ALL
WAGES UPON
SEPARATION;

6. VIOLATION OF

CALIFORNIA’S UNFAIR

COMPETITION ACT, BUS.

& PROF. CODE §17200, et seq.

DEMAND FOR JURY TRIAL

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Plaintiff James C. Kang (“Plaintiff”) is informed and believe, and on that
basis allege, as follows:

NATURE OF THE ACTION

l. This is a California state-wide class action for wage and labor
violations arising out of, among other things, Defendant Wells Fargo Bank, N.A.’s
(“Defendant” or “Wells Fargo”) failure to compensate their mortgage sales force in
compliance with California law. As more fully described herein, Defendant paid
Plaintiff and class members based on a sales commission, and fails to pay them for
all time worked, for overtime, vacation pay, or in certain circumstances their full
commission rate.

2. Plaintiff seeks among other things, all wages, restitutionary
disgorgement, and statutory remedies.

PARTIES

3. Plaintiff James C. Kang was, at all relevant times, a resident and
citizen of the State of California. Plaintiff Kang was employed by Defendant as a
mortgage broker in Defendant’s Palo Alto Branch, in the State of California,
during the liability period as alleged herein. Plaintiff Kang started with Defendant
in approximately October 2000 and, other than a short break in employment in
2011, was employed by Defendant through May 2015.

4. Defendant Wells Fargo Bank, N.A. is a bank, that is authorized to
conduct and is actually conducting business in the State of California, and that
designates its main office in South Dakota.

5. Plaintiff is currently ignorant of the true names and capacities,
whether individual, corporate, associate, or otherwise, of the Defendants sued
herein under the fictitious names Does | through 10, inclusive, and therefore sue
such Defendants by such fictitious names. Plaintiff will seek leave to amend this
complaint to allege the true names and capacities of said fictitiously named
Defendants when their true names and capacities have been ascertained. Plaintiff

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is informed and believes and thereon alleges that each of the fictitiously named
Defendants is legally responsible in some manner for the events and occurrences
alleged herein, and for the damages suffered by the Class.

6.  Plaintiffis informed and believes and thereon alleges that all
Defendants, including the fictitious Doe Defendants, were at all relevant times
acting as actual agents, conspirators, ostensible agents, alter egos, partners and/or
joint venturers and/or employees of all other Defendants, and that all acts alleged
herein occurred within the course and scope of said agency, employment,
partnership, and joint venture, conspiracy or enterprise, and with the express and/or
implied permission, knowledge, consent authorization and ratification of their co-
Defendant; however, each of these allegations are deemed “alternative” theories
whenever not doing so would result in a contradiction with other allegations.

JURISDICTION AND VENUE

7. This Court has jurisdiction over the entire action by virtue of the fact
that this is a civil action wherein the matter in controversy, exclusive of interest
and costs, exceeds the jurisdictional minimum of the Court. The acts and
omissions complained of in this action took place in part in the State of California.
At least one Defendant is a citizen of a state outside of California, and federal
diversity jurisdiction exists and/or jurisdiction under the Class Action Fairness Act
(“CAFA”). The class amount at issue exceeds $5,000,000 and the jurisdictional
minimum of this Court under CAFA. Venue is proper because this is a class
action, the acts and/or omissions complained of took place, in whole or in part
within the venue of this Court.

FACTUAL ALLEGATIONS

8. Plaintiff and the Class worked as Home Mortgage Consultant, Private
Mortgage Banker, Home Mortgage Consultant Jr., and/or Private Mortgage
Banker, Jr. (collectively “HMCs”) for Defendant selling mortgages. Defendant
paid Plaintiff and Class members based on a sales commission. Defendant paid

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CLASS ACTION COMPLAINT

 

 

 

 
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Plaintiff and the Class members advances on commissions at approximately $12
per hour, but then clawed back the hourly advances from the commissions.

9. Defendant’s pay plan failed to compensate for non sales work.
Defendant failed to pay Plaintiff and Class members for all hours worked,
including but not limited to, mandatory meetings, loan processing, training and
coaching sessions, loan tracking, customer surveys, attending open houses,
attending events and galas, and working on certain nights or weekends.

10. Defendant was also required to pay Plaintiff and class members
vacation time, referred to as Paid Time Off. Defendant made transfers of monies
for that time to Class members, but also subtracted or clawed that back from Class
members’ commission.

11. When Class members worked shifts over eight (8) hours per day, or
over forty (40) hours per week, Defendant did not pay them overtime in
accordance with law. This claim relates to on-the-clock overtime hours that are
actually recorded for Plaintiff and Class members in Defendant’s records.
Defendant subtracted and clawed back from Plaintiff's commission the hourly rate
portion that was paid for overtime. Thus, Defendant only paid Plaintiff 50% of the
hourly rate for overtime, rather than time and half. Defendant also failed to base
overtime on Plaintiff and Class members’ regular rate of pay.

12. Plaintiff and Class members received commission based on a
percentage, referred to as basis points, for mortgage loan they originated (“HMC
leads”). Plaintiff and Class members were paid a lesser percentage where the
mortgage lead was referred to them by the bank branch (“Bank leads”). Defendant
had a program whereby prospective customers would receive a reduced mortgage
rate if the opened a new account with Wells Fargo, and had their mortgage
payments automatically deducted from that account. Plaintiff and Class members
referred their HMC leads in connection with a mortgage origination to the Wells
Fargo banker to open and account and set up automatic mortgage payment

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deduction. Once the account was open, Wells Fargo would improperly reclassify
the lead as a Bank lead, and pay Plaintiff and Class members the reduced
commission rate. Defendant’s branch managers, regional managers, and the bank
itself made more money on Bank leads than HMC leads, and thus had a financial
motive to reclassify loans. Any loan where an HMC first created loan origination
documents, and a bank account was subsequently created for automatic mortgage
deductions, is an HMC lead, and should be credited and paid as a HMC lead.
Defendant failed to pay for such leads as HMC leads, and deprived Plaintiff and
Class members of wages.

13. Defendant’s conduct, as alleged herein, has caused Plaintiff and Class
members damages including, but not limited to, loss of wages and compensation.
Defendant is liable to Plaintiff and the Class for failing to pay minim wages,
overtime wages, vacation pay, and full commissions on certain loans, as well as
failing to pay all wages owed on each pay period, failure to pay all wages owed
upon termination, and unfair competition.

14. Plaintiff is a member of and seeks to be the representative for the
Class of similarly situated employees who all have been exposed to, have suffered,
and/or were permitted to work under, Defendant’s unlawful employment practices
as alleged herein.

CLASS DEFINITIONS AND CLASS ALLEGATIONS

15. Plaintiff brings this action on behalf of herself, and on behalf of all

others similarly situated, and as a member of the Class defined as follows:
All current or former California residents who worked for
Defendant as HMCs at any time beginning four (4) years prior
to the filing of the Complaint through the date notice is mailed
to the Class (the “Class period”).

16. Plaintiff reserves the right to amend or otherwise alter the sub-class
definitions presented to the Court at the appropriate time, or to propose or

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eliminate sub-classes, in response to facts learned through discovery, legal
arguments advanced by Defendant or otherwise.

17. This action has been brought and may be properly maintained as a
class action pursuant to California Code of Civil Procedure § 382 and other
applicable law, as follows:

18. Numerosity of the Class; Members of the Class are so numerous
that their individual joinder is impracticable. The precise number of Class
members and their addresses are known to Plaintiff or will be known to Plaintiff
through discovery. Class members may be notified of the pendency of this action
by mail, electronic mail, the Internet, or published notice.

19. Existence of Predominance of Common Questions of Fact and
Law: Common questions of law and fact exist as to all members of the Class.
These questions predominate over any questions affecting only individual Class
members. These common legal and factual questions include:

a. Whether Defendant’s pay plan of advancing an hourly wage against

commissions is akin to an interest free loan against the commission

b. Whether Plaintiff and each member of the Class were not paid minimum
wage for each hour worked or part thereof during which they were
required to perform acts at the direction and for the benefit of Defendant;

c. Whether Plaintiff and each member of the Class were not paid minimum
wage for non-sales time worked during the Class period;

d. Whether Defendants failed to pay Plaintiff and Class members for
overtime because they clawed back or subtracted the hourly pay.

e. Whether Defendants failed to pay Plaintiff and Class members for
overtime in compliance with California law because they did not pay
based on Plaintiff and Class members regular rate of compensation.

f. Whether Defendant failed to pay Plaintiff and Class members for .
vacation time, also referred to as Paid Time Off.

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g. Whether Defendant failed to pay Plaintiff and the Class wages based on
their full commission rate for HMC leads that are referred for an account
to be opened and used for automatic mortgage deductions.

h. Whether Defendants engaged in an unfair business practice in violation
of Business & Professions Code §17200, et seq., based on the labor
practices and Labor Code violations alleged herein.

i. The nature and extent of class-wide injury and the measure of damages
for the injury.

20.  Typicality: Plaintiff's claims are typical of the claims of the members
of the subclasses they represent because Plaintiff, as a mortgage consultant for
Defendant, was exposed and subjected to the same unlawful business practices as
other mortgage salespersons employed by Defendant during the liability period.
Plaintiff and the members of the class she represents sustained the same types of
damages and losses.

21. Adequacy: Plaintiff is an adequate representatives of the Class they
seeks to represent because their interests do not conflict with the interests of the
members of the subclasses Plaintiff seeks to represent. Plaintiff has retained
counsel competent and experienced in complex class action litigation and Plaintiff
intends to prosecute this action vigorously. The interests of members of each Class
will be fairly and adequately protected by Plaintiff and their counsel.

22. Superiority and Substantial Benefit: The class action is superior to
other available means for the fair and efficient adjudication of Plaintiff and the
Class members’ claims. The violations of law were committed by Defendant in a
uniform manner and class members were exposed to the same unlawful practices.
The damages suffered by each individual Class member may be limited. Damages
of such magnitude are small given the burden and expense of individual
prosecution of the complex and extensive litigation necessitated by Defendant’s
conduct. Further, it would be virtually impossible for the Class members to redress

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the wrongs done to them on an individual basis. Even if members of the Class
themselves could afford such individual litigation, the court system could not.
Individualized litigation increases the delay and expense to all parties and the court
system, due to the complex legal and factual issues of the case. By contrast, the
class action device presents far fewer management difficulties, and provides the
benefits of single adjudication, economy of scale, and comprehensive supervision
by a single court.
23. The Class should also be certified because:

a. The prosecution of separate actions by individual members of the
Class would create a risk of inconsistent or varying adjudications with respect to
individual Class members which would establish incompatible standards of
conduct for Defendant;

b. The prosecution of separate actions by individual members of the
Class would create a risk of adjudication with respect to them, which would, as a
practical matter, be dispositive of the interests of the other Class members not
parties to the adjudications, or substantially impair or impede their ability to
protect their interests; and

c. Defendant has acted or refused to act on grounds generally applicable
to the Class, and/or the general public, thereby making appropriate final and
injunctive relief with respect to the Classes as a whole.

FIRST CAUSE OF ACTION

FAILURE TO PAY MINIMUM WAGES
(Violation of Labor Code §§ 510, 1194, 1194.2, 1197; Wage Order No. 4-
2001, §4)
(Against All Defendants)

24. Plaintiff re-alleges and incorporates all preceding paragraphs as if
fully set forth herein.

25. Labor Code § 510 provides in relevant part: “[e]ight hours of labor
constitutes a day’s work.” Labor Code §1197 provides: “The minimum wage for

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employees fixed by the commission is the minimum wage to be paid to
employees, and the payment of a less wage than the minimum so fixed is
unlawful.”

26. Labor Code § 1194, subdivision (a) provides: “Notwithstanding any
agreement to work for a lesser wage, an employee receiving less than the legal
minimum wage or the legal overtime compensation applicable to the employee is
entitled to recover in a civil action the unpaid balance of the full amount of this
minimum wage or overtime compensation, including interest thereon, reasonable
attorney’s fees, and costs of suit.”

27. Labor Code § 1194.2 provides in relevant part: “In any action under
Section 1193.6 or Section 1194 to recover wages because of the payment of a
wage less than the minimum wage fixed by an order of the commission, an
employee shall be entitled to recover liquidated damages in an amount equal to
the wages unlawfully unpaid and interest thereon.”

28. Pursuant to IWC Wage Order No. 4-2001, at all times material hereto,
“hours worked” includes “the time during which an employee is subject to the
control of an employer, and includes all the time the employee is suffered or
permitted to work, where or not required to do so.”

29. Plaintiff and Class members were required to work non-selling time,
for which they were not compensated, in violation of California’s minimum wage
laws. This includes, but is not limited to, including but not limited to, mandatory
meetings, loan processing, training and coaching sessions, loan tracking, customer
surveys, attending open houses, attending events and galas, and working on
certain nights or weekends. Plaintiff engaged in such non-sales work through his
last date of employment in May 2015.

30.  Atall times relevant during the liability period, under the provisions

of Wage Order No. 4-2001, Plaintiff and each Class member should have received

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not less than the minimum wage in a sum according to proof for the time worked,
but not compensated.

31. For all hours that Plaintiff and the Class members worked, they are
entitled to not less than the California minimum wage and, pursuant to Labor
Code § 1194.2(a) liquidated damages in an amount equal to the unpaid minimum
wages and interest thereon. Pursuant to Labor Code § 1194, Plaintiff and the
Class members are also entitled to their attorneys’ fees, costs and interest
according to proof.

32.  Atall times relevant during the liability period, Defendants willfully
failed and refused, and continues to willfully fail and refuse, to pay Plaintiff and
Class members the amounts owed.

33. Defendants’ unlawful conduct alleged herein occurred in the course of
employment of Plaintiff and all other similarly situated drivers, and Defendants
has done so continuously throughout the filing of this complaint.

34.  Asadirect and proximate result of Defendants’ violation of Labor
Code §§ 510 and 1197, Plaintiff and other Class members have suffered
irreparable harm and money damages entitling them to damages, injunctive relief
or restitution. Plaintiff, on behalf of themselves and on behalf of the Class, seeks
damages and all other relief allowable including all wages due while working as
Defendants’ drivers, attorneys’ fees, liquidated damages, prejudgment interest,
and as to those employees no longer employed by Defendants, waiting time
penalties pursuant to Labor Code § 200 et seq.

35. Plaintiff and the Class members are entitled to back pay, pre-judgment
interest, liquidated damages, statutory penalties, attorneys’ fees and costs, and for
Plaintiff and the Class of members no longer employed, waiting time penalties

pursuant to Labor Code § 1194.

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SECOND CAUSE OF ACTION

FAILURE TO PAY ALL OVERTIME WAGES
(Violation of Labor Code§§ 510 and 1194; Wage Order No. 4-2001, § 3 )

36. Plaintiff re-alleges and incorporates all preceding paragraphs as if
fully set forth herein.

37. California Labor Code §510 provides that, “Any work in excess of
eight hours in one workday and any work in excess of 40 hours in any one
workweek and the first eight hours worked on the seventh day of work in any one
workweek shall be compensated at the rate of no less than one and one-half times
the regular rate of pay for an employee. Any work in excess of 12 hours in one
day shall be compensated at the rate of no less than twice the regular rate of pay
for an employee....”

38. Section 3(a)(1) of Wage Order No. 4-2001 also mandates that
employers pay one and one-half times the employees’ regular rate of pay for
employees who work more than eight (8) hours in a day or forty (40) hours in a
week, and two times their regular rate of pay for any work in excess of twelve
(12) hours in one day.

39.  Atall times relevant hereto, Plaintiff and members of the Class were
non-exempt for purposes of the overtime and double pay requirements set forth in
the Labor Code and Wage Order No. 4-2001. During the Class period, Plaintiff
and other members of the Class consistently worked overtime that was recorded
by Defendant in its records. Defendant advanced the hourly rate, times 50%, but
that clawed and subtracted back the hourly rate from commission. Thus, in effect,
Plaintiff and class members were being paid only 50% of the hourly rate
Defendant had established for overtime. Plaintiff were not paid time and a half
for overtime, and were not paid overtime based on their regular rate of pay.
Defendant failed to pay Plaintiff and the Class overtime as required by California

Law.

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40. Plaintiff and the Class seek to recover unpaid overtime and double-

time compensation in an amount to be determined at trial.

THIRD CAUSE OF ACTION
FAILURE TO PAY VACATION TIME
(Violation Of Labor Code § 227.3)

41. Plaintiff re-alleges and incorporates all preceding paragraphs as if
fully set forth herein.

42. Labor Code § 227.3 requires employers to pay all vacation time owed
upon termination of employment. Defendant failed to provide or pay Plaintiff and
Class members for vested vacation time in accordance with section 227.3.

43, Plaintiff and Class members were not paid their vacation time,
because Defendant deducted it from their commission. Plaintiff and Class
members were denied vested vacation pay, and were not provided it when they
ceased employment.

44.  Asadirect and proximate result of Defendant’s wrongful conduct,
Plaintiff and Class members have been deprived of compensation in amounts to be
determined at trial.

FOURTH CAUSE OF ACTION

FAILURE TO PAY ALL WAGES OWED EVERY PAY PERIOD
(Violation of Labor Code § 204)
(Against All Defendants)

45, Plaintiff re-alleges and incorporates all preceding paragraphs as if
fully set forth herein.

46. California Labor Code § 204 establishes the fundamental right of all
employees in the State of California to be paid wages in a timely fashion for their
work.

47, At all times relevant during the liability period, Defendants failed to
pay Plaintiff and the Class the full amount of all owed wages when due as
required by California Labor Code § 204.

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48, Defendants failed to pay Plaintiff and other similarly situated
employees all wages earned each pay period. Plaintiff are informed, believe, and
thereon allege, that at all times relevant during the liability period, Defendants
maintained a policy or practice of not paying Plaintiff and other similarly situated
employees: (i) minimum wages for all hours worked; (ii) overtime wages for all
overtime hours worked; (iii) vacation pay, or paid time off; and (iv) full
commissions on mortgage loans set for automatic deductions from a Wells Fargo
bank account.

49.  Asaresult of Defendants’ unlawful conduct, Plaintiff and members of
the each Class have suffered damages in an amount, subject to proof, to the extent
they were not paid all wages each pay period. The precise amount of unpaid
wages is not presently known to Plaintiff but can be determined directly from
Defendants’ records or indirectly based on information from Defendants’ records.

FIFTH CAUSE OF ACTION

FAILURE TO PAY ALL WAGES DUE AT SEPARATION
(Violation of Labor Code § 203)

50. Plaintiff re-alleges and incorporates all preceding paragraphs as if
fully set forth herein.

51. California Labor Code §§ 201 and 202 requires Defendant to pay all
compensation due and owing to former mortgage salespersons at or around the
time employment is terminated. Section 203 of the California Labor Code
provides that if an employer willfully fails to pay compensation promptly upon
discharge or resignation, as required by §§ 201 and 202, then the employer is
liable for penalties in the form of continued compensation up to thirty (30) work
days.

52.  Atall times relevant during the liability period, Plaintiff and the other
members of the Class were employees of Defendant covered by Labor Code §

203.

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53. Plaintiff and the Class were not paid for their work performed, as set
forth herein, including minimum wage for non-sales time, overtime pay, vacation
pay, or their proper commission for certain loans.

54. Defendant willfully failed to pay Plaintiff and other members of the
Class who are no longer employed by Defendant for their uncompensated hours,
uncompensated overtime, and for other items alleged herein upon their
termination or separation from employment with Defendant as required by
California Labor Code §§ 201 and 202. As a result, Defendant is liable to
Plaintiff and other members of the Class who are no longer employed by
Defendant for all wages or compensation owed, as well as waiting time penalties
amounting to thirty days wages for Plaintiff and each such Class member pursuant
to California Labor Code § 203.

SIXTH CAUSE OF ACTION

VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION ACT
(Violation of California’s Unfair Competition Law, Bus. & Prof. Code §§
17200 et seq.)

55. Plaintiff re-alleges and incorporates all preceding paragraphs as if
fully set forth herein.

56. Section 17200 of the California Business and Professions Code (the
‘UCL”) prohibits any unlawful, unfair, or fraudulent business practices.

57. Through its actions alleged herein, Defendant has engaged in unfair
competition within the meaning of the UCL. Defendant’s conduct, as alleged
herein, constitutes unlawful, unfair, and/or fraudulent business practices under the
UCL.

58. Defendant’s unlawful conduct under the UCL includes, but is not
limited to, violating the statutes and regulations alleged herein; failure to pay
Class members wages and compensation they earned through labor provided;
violating California Labor Code § 204 and employees fundamental right to be

paid wages in a timely fashion for their work; and failing to otherwise compensate
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Class members, as alleged herein. Defendant’s fraudulent conduct includes, but is
not limited to, issuing wage statements containing false and/or misleading
information about the amount of wages or compensation due.

59. Plaintiff has standing to assert this claim because she has suffered
injury in fact and has lost money as a result of Defendant’s conduct.

60. Plaintiff and the Class seek restitutionary disgorgement from
Defendant, and an injunction prohibiting them from engaging in the unlawful,
unfair, and/or fraudulent conduct alleged herein.

PRAYER

WHEREFORE, Plaintiff, on behalf of himself and all others similarly
situated and also on behalf of the general public, pray for judgment against
Defendant as follows:

A. An order that this action may proceed and be maintained as a class

action;

B. For all unpaid minimum wages and liquidated damages due to

Plaintiff and each Class member on their minimum wage claim

C. For all unpaid overtime wages and liquidated damages due to Plaintiff

and each Class member on their overtime wage claim;

D. For all unpaid vacation pay, or paid time off, and liquidated damages

due to Plaintiff and each Class member on their vacation wage claim;

E. For all unpaid commission, and liquidated damages due to Plaintiff

and each Class member on their unpaid commission claim

F, For all applicable statutory penalties under the Labor Code;

G. For restitutionary disgorgement pursuant to the UCL;

H. An order enjoining Defendant from further unfair and unlawful

business practices in violation of the UCL;

I. Prejudgment interest at the maximum legal rate;

J. Reasonable attorneys’ fees;

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K. Accounting of Defendant’s records for the liability period;

L. General, special and consequential damages, to the extent allowed by

law;

M. Costs of suit; and

N. Such other relief as the Court may deem just and proper.

DATED: October 27, 2017

HAFFNER LAW PC

By: /s/ Joshua H. Hafner
Joshua H. Haffner
Attorneys for Plaintiff and others
Similarly situated

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DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury for herself and the Class members on all

claims so triable.

DATED: October 27, 2017 HAFFNER LAW PC

By: /s/ Joshua H. Haffner
Joshua H. Haffner
Attorneys for Plaintiff and others
Similarly situated

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